     Case 2:18-mj-01323-DUTY Document 4 Filed 09/20/18 Page 1 of 2 Page ID #:101



 1   NICOLA T. HANNA
     United States Attorney
 2   LAWRENCE S. MIDDLETON
     Assistant United States Attorney
 3   Chief, Criminal Division
     RICHARD E. ROBINSON (Cal. Bar No. 90840)
 4   Assistant United States Attorney
     Major Frauds Section
 5        1100 United States Courthouse
          312 North Spring Street
 6        Los Angeles, California 90012
          Telephone: (213) 894-0713
 7        Facsimile: (213) 894-6269
          E-mail:     Richard.robinson@usdoj.gov
 8

 9   Attorneys for Applicant
     UNITED STATES OF AMERICA
10
                            UNITED STATES DISTRICT COURT
11
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
     Nine Digital Devices and Images         No. 2:18-MJ-01323
13   of Digital Devices Obtained from
     Michael Stollery and in the             ORDER ALLOWING EXTENSION OF TIME
14   Possession of the FBI                   WITHIN WHICH TO RETAIN AND SEARCH
                                             DIGITAL DEVICES
15

16

17        For good cause shown, IT IS HEREBY ORDERED that the government
18   may retain and search, pursuant to the terms of the original warrant
19   in this matter, for an additional 120 days (beyond the time period
20   previously authorized), the following digital devices:
21              a.    One Ledger Blue cryptocurrency cold storage device
22                    (“Subject Device 1”);
23              b.    One silver/white Apple iPhone X IMEI number
24                    359412081493557 (“Subject Device 2”);
25              c.    One gold Apple iPhone 6S Plus IMEI number
26                    353286076727443 (“Subject Device 3”);
27              d.    Electronic image of Hewlett-Packard laptop computer
28                    serial number 5CG7213KZM (“Subject Device 8”); and
     Case 2:18-mj-01323-DUTY Document 4 Filed 09/20/18 Page 2 of 2 Page ID #:102



 1              e.    Electronic image of one black Origin Neuron computer

 2                    tower serial number C3170315000825 (“Subject Device

 3                    9”).

 4

 5    9/20/18

 6   DATE                                    UNITED STATES MAGISTRATE JUDGE

 7   Presented by:

 8   /s/
     Richard E. Robinson
 9   Assistant United States Attorney

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                            2
